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               THE UNITED STATES BANKRUPTCY COURT FOR THE
                      NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

In re:                                          )    Case No. 17 B 18090
Victoria Medina and Marcos Medina,              )    Honorable Jack B. Schmetterer
                                                )    Chapter 7
                          Debtors.              )

                                     NOTICE OF HEARING

To:    Victoria Medina and Marcos Medina, 5348 S. Mulligan Ave., Chicago, IL 60638
       * David P. Lloyd, 615B S. LaGrange Rd., LaGrange, IL 60525
       * United States Trustee Patrick S. Layng, Office of the United States Trustee, 219 South
       Dearborn Street, Suite 873, Chicago, IL 60604

       PLEASE TAKE NOTICE that on August 21, 2017 at 10:00 a.m., we will appear before
the Honorable Jack B. Schmetterer or such other Judge as may be presiding in that Judge’s stead, in
Courtroom 682, Everett McKinley Dirksen United States Courthouse, 219 South Dearborn Street,
Chicago, IL 60604, and present our OBJECTION TO DEBTOR’S CLAIMED EXEMPTION,
a copy of which is attached hereto and served upon you herewith.

Date: August 9, 2017                          By: /s/ David P. Leibowitz______
                                                      Not individually but as the Chapter 7 Trustee
                                                      of the Debtor’s Bankruptcy Estate

                                CERTIFICATE OF SERVICE

On August 9, 2017, the undersigned certifies that on this date, he caused a copy of the above
document to be served upon each person shown on the within Notice, by United States Mail, with
postage prepaid, at Chicago, Illinois. Those marked with an * were served via Court’s ECF System.

                                                     _/s/ David P. Leibowitz

David P. Leibowitz (ARDC # 1612271)
Lakelaw
53 W. Jackson, Suite 1610
Chicago, IL 60604
312.360.1501
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In re:                                            )    Case No. 17 B 18090
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                                                  )    Chapter 7
                           Debtors.               )

                                 OBJECTION TO EXEMPTION

       Now comes David P. Leibowitz (“Trustee”), Chapter 7 Trustee for the bankruptcy Estate of

Victoria Medina and Marcos Medina, (“Debtors”), hereby objecting to certain exemptions claimed

by Debtors.

                                  JURISDICTION AND VENUE

       1.        This Court has jurisdiction pursuant to 28 USC § 1334.

       2.        Venue is proper pursuant to 28 USC § 1409(a).

       3.        By Local Rule 40.3.1(a) of the United States District Court for the Northern District

of Illinois, the District Court has referred all bankruptcy cases to the Bankruptcy Court for initial

determination.

                                 PROCEDURAL BACKGROUND

       4.        Debtors filed their voluntary petition for relief under Chapter 7 of the Bankruptcy

Code on June 14, 2017. David Leibowitz was appointed Interim Trustee.

       5.        A meeting of creditors under §341 of the Bankruptcy Code, (the "Code"), was first

scheduled for July 13, 2017. No trustee was elected at this meeting whereupon David P. Leibowitz

became the permanent trustee for this case.

       6.        Debtors filed their amended Schedule C on July 27, 2017. Though the meeting has

not been concluded at this time, this objection is nevertheless filed within 30 days of the amended

schedule C, and so, for multiple reasons, this Objection is in compliance with Federal Rule of

Bankruptcy Procedure 4003(b)(1).
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       7.      Debtors claim a $1,500 exemption in a wedding ring pursuant to 735 ILCS 5/12-

1001(a).

       8.      However, 735 ILCS 5/12-1001(a), as related to this case, is an exemption for

“necessary wearing apparel.”

       9.      Debtors scheduled Mrs. Medina’s wedding ring as “jewelry” in Schedule A of her

bankruptcy schedules (Dkt. 1, Schedule A/B 12.1).

       10.     Debtors did not schedule Mrs. Medina’s wedding ring as “clothing” in Schedule A of

her bankruptcy schedules (Dkt. 1, Schedule A/B 11).

       11.     At the time of the filing her petition, Debtors claimed the wedding ring exempt to

the extent of $1,500 under the “wild card” exemption of 735 ILCS 5/12-1001(b).

       12.     In fact, Debtor did schedule “fashion jewelry” as clothing in item 11 of her

schedules.

       13.     Debtor did not wear her wedding ring – which on information and belief contains

several valuable diamonds – on the occasion of her meeting of creditors with the Trustee pursuant

to Section 341 of the Bankruptcy Code.

       14.     Trustee at the time asked the Mrs. Medina to turn over the diamond ring to him for

the purpose of getting the ring appraised.

       15.     Debtor did not turn over the diamond ring to the trustee for inspection or appraisal.

Rather, she claimed the ring 100% exempt as “necessary wearing apparel” citing 735 ILCS 5/12-

1001(a).

       16.     In correspondence with the Trustee, Debtor’s attorney relies upon In re Robinson

(Appeal of Hagan) ___ F.3d ___ (14-3585 decided Feb. 4, 2016) which held that a valuable first

edition Book of Mormon was a “bible” within the meaning of 735 ILCS 5/12-1001(a).

       17.     That case relied upon In re Deacon, 27 F. Supp. 296 (S.D. Ill. 1939) holding that a

watch, a consistory ring and a diamond shirt stud constituted necessary wearing apparel.
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           18.    While a consistory ring (a Masonry artifact) and a diamond shirt stud were held in

Deacon to have been clothing, the basis of that holding was the watch, consistory ring and diamond

shirt stud “was worn upon the person of said bankrupt from the date of their purchase to date of

bankruptcy.” 27 F.Supp. at 96.

           19.    Deacon held that the term “wearing apparel” was modified by the word “necessary”

and as such, whether the item was “wearing apparel” or “necessary” was something to be

determined on a case by case basis.

           20.    Debtor in the instant case still has not scheduled the wedding ring as “clothing” on

Schedule A/B even though she has scheduled other jewelry as such.

           21.    Moreover, the debtor did not maintain the wedding ring in constant usage as she

failed to have worn the ring at the 341 meeting.

           For the foregoing reasons, Trustee prays that Debtor’s claimed exemption of $1,500 in her

wedding ring as “necessary wearing apparel” pursuant to 735 ILCS 5/12-1001(a) be disallowed and

for such other and further relief as may be just.



           Wherefore, Trustee prays that Debtor’s exemption in the “Wedding ring” in the amount of

$1,500 pursuant to 735 ILCS 5/12-1001(a) be denied, and for such other and further relief as may

be just.

                                                        David Leibowitz, not individually but as
                                                        Chapter 7 Trustee for the Estate of
                                                        Victoria Medina and Marcos Medina

                                                By:     /s/David Leibowitz
                                                        David Leibowitz,
                                                        Trustee
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